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                                                                                                 CLOSED,FORFEITURE

                                               U.S. District Court
                                      Western District of Virginia (Abingdon)
                              CRIMINAL DOCKET FOR CASE #: 1:16-cr-00001-JPJ-PMS-3


         Case title: USA v. Bartley et al                                Date Filed: 01/11/2016
         Magistrate judge case number: 1:15-mj-00212-PMS                 Date Terminated: 08/22/2016


         Assigned to: Judge James P. Jones
         Referred to: Magistrate Judge Pamela Meade
         Sargent

         Defendant (3)
         Summer Deborah Booher                             represented by Jay Hanson Steele
         TERMINATED: 08/22/2016                                           P.O. Box 2577
                                                                          Lebanon, VA 24266
                                                                          276-889-3519
                                                                          Fax: 889-4792
                                                                          Email: jhs@jayhsteeleatty.com
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED
                                                                          Designation: CJA Appointment

         Pending Counts                                                  Disposition
         21:846 - CONSPIRACY TO DISTRIBUTE
         CONTROLLED SUBSTANCE; 12:846, 843,                              CBOP: Sixty (60) months; Supervised Release:
         84(b)(1)(A)& 841(b)(1)(C) - 1/11/2016                           Three (3) years; Special Assessment: $100.00
         (1)

         Highest Offense Level (Opening)
         Felony

         Terminated Counts                                               Disposition
         21:841A=CD.F - CONTROLLED
         SUBSTANCE - SELL, DISTRIBUTE, OR
                                                                         Dismissed pursuant to plea agreement
         DISPENSE - 4/14/2015
         (2)

         Highest Offense Level (Terminated)
         Felony

         Complaints                                                      Disposition
         21:846=CD.F - 21:846 - Conspiracy to Possess
         with Intent to Distribute Methamphetamine



         Plaintiff

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         USA                                                    represented by Duty Assistant Abingdon
                                                                               United States Attorneys Office - Abingdon
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                                                                               276-628-4161
                                                                               Email: USAVAW.ECFAbingdon@usdoj.gov
                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED
                                                                               Designation: US Attorney

                                                                               Martha Suzanne Kerney-Quillen
                                                                               United States Attorneys Office
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                                                                               Fax: 276-628-7399
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                                                                               LEAD ATTORNEY
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                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED
                                                                               Designation: Public Defender or Community
                                                                               Defender Appointment

                                                                               Zachary T. Lee
                                                                               United States Attorneys Office
                                                                               180 West Main Street, Suite B19
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                                                                               Fax: 276-628-7399
                                                                               Email: USAVAW.ECFAbingdon@usdoj.gov
                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED


         Date Filed        #   Docket Text
         12/14/2015         1 MOTION to Seal Case by USA as to Summer Deborah Booher. (ejs) [1:15-mj-00212-PMS]
         12/14/2015         2 ORDER granting 1 Motion to Seal Case as to Summer Deborah Booher (1). Signed by Magistrate
                              Judge Pamela Meade Sargent on 12/14/15. (ejs) [1:15-mj-00212-PMS]
         12/14/2015         3 COMPLAINT as to Summer Deborah Booher (1). (Attachments: # 1 Affidavit Part 1, # 2 Affidavit
                              Part 2) (ejs) [1:15-mj-00212-PMS]
         12/14/2015         4 Arrest Warrant Issued by Magistrate Judge Pamela Meade Sargent in case as to Summer Deborah
                              Booher. (Location Fugitive Started) (ejs) [1:15-mj-00212-PMS]
         12/27/2015            Arrest of Summer Deborah Booher (ejs) [1:15-mj-00212-PMS] (Entered: 12/28/2015)

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         12/28/2015         5 CJA 23 Financial Affidavit as to Summer Deborah Booher (ejs) [1:15-mj-00212-PMS]
         12/28/2015         6 CJA 20 as to Summer Deborah Booher: Appointment of Attorney Jay Hanson Steele for Summer
                              Deborah Booher. Signed by Magistrate Judge Pamela Meade Sargent on 12/28/15. (ejs) [1:15-
                              mj-00212-PMS]
         12/28/2015         7 Minute Entry for proceedings held before Magistrate Judge Pamela Meade Sargent:Initial
                              Appearance as to Summer Deborah Booher held on 12/28/2015 (Court Reporter Ella Surber, FTR)
                              (ejs) [1:15-mj-00212-PMS]
         12/28/2015         8 ORAL Motion for Detention by USA as to Summer Deborah Booher. (ejs) [1:15-mj-00212-PMS]
         12/28/2015         9 ORAL MOTION to Continue Detention Hearing by Summer Deborah Booher. (ejs) [1:15-
                              mj-00212-PMS]
         12/28/2015       10 ORAL ORDER granting 9 Motion to Continue as to Summer Deborah Booher (1). Entered by
                             Magistrate Judge Pamela Meade Sargent on 12/28/15. (ejs) [1:15-mj-00212-PMS]
         12/28/2015        11 NOTICE OF HEARING as to Summer Deborah Booher (CUSTODY) (FTR) Detention Hearing
                              set for 1/5/2016 02:00 PM in Abingdon before Magistrate Judge Pamela Meade Sargent.(ejs)
                              [1:15-mj-00212-PMS]
         12/28/2015       12 WAIVER of Preliminary Hearing as to Summer Deborah Booher (ejs) [1:15-mj-00212-PMS]
         12/28/2015       13 ORDER OF TEMPORARY DETENTION as to Summer Deborah Booher Detention Hearing set
                             for 1/5/2016 02:00 PM in Abingdon before Magistrate Judge Pamela Meade Sargent.. Signed by
                             Magistrate Judge Pamela Meade Sargent on 12/28/15. (ejs) [1:15-mj-00212-PMS]
         12/28/2015       14 FTR Log Notes as to Summer Deborah Booher for Initial Appearance in the Abingdon Division
                             held before Judge Pamela Meade Sargent on 12/28/15. In accordance with 28 USC 753(b), I certify
                             that I monitored the digital recording of this proceeding and that it is a true and correct record, that
                             it is sufficiently intelligible when played on the FTR (For the Record) Player, and that it can be
                             transcribed without undue difficulty. FTR Operator: Ella Surber (ejs) [1:15-mj-00212-PMS]
         12/28/2015       15 Arrest Warrant Returned Executed on 12/27/15 in case as to Summer Deborah Booher. (ejs) [1:15-
                             mj-00212-PMS]
         01/05/2016       16 Minute Entry for proceedings held before Magistrate Judge Pamela Meade Sargent:Detention
                             Hearing as to Summer Deborah Booher held on 1/5/2016. Defendant was remanded to the custody
                             of the USMS. (Court Reporter Felicia Clark, FTR) (flc) [1:15-mj-00212-PMS]
         01/05/2016       17 FTR Log Notes as to Summer Deborah Booher for Detention Hearing in the Abingdon Division
                             held before Judge Pamela Meade Sargent on 1/5/2016. In accordance with 28 USC 753(b), I certify
                             that I monitored the digital recording of this proceeding and that it is a true and correct record, that
                             it is sufficiently intelligible when played on the FTR (For the Record) Player, and that it can be
                             transcribed without undue difficulty. FTR Operator: Felicia Clark, FTR (flc) [1:15-mj-00212-PMS]
         01/06/2016       18 ORDER OF DETENTION PENDING TRIAL as to Summer Deborah Booher. Signed by
                             Magistrate Judge Pamela Meade Sargent on 1/6/16. (flc) [1:15-mj-00212-PMS]
         01/11/2016       35 INDICTMENT as to Jeremy Wayne Bartley (1) counts 1, 3, 4, 5, Dawn Rossalyn Vincente (2)
                             counts 1, 6, 7, 8, Summer Deborah Booher (3) counts 1, 2, Steven Roger Bryant (4) count 1,
                             Dakota Wayne Barker (5) count 1, Carrie Taylor (6) count 1, Brandin Travis Hyde (7) count 1, 3, 4,
                             5, Jeffery Bruce Bartley (8) count 1, Franklin Dee Rose (9) count 1, 9, Stacey Lee Doane (10)
                             counts 1, 10, 11, 13, Matthew Charles Blevins (11) counts 1, 11, Robert Edward Bowman (12)
                             count 1, Melissa Mendora Harless (13) counts 1, 12, Connie Diane Strouth (14) count 1, Donna
                             Jenkins (15) counts 1, 7, 8. (lml) (Entered: 01/12/2016)
         01/11/2016       36 Sealed Document - Unredacted Indictment (lml) (Entered: 01/12/2016)
         01/11/2016       37 MOTION for Disclosure by USA as to Jeremy Wayne Bartley, Dawn Rossalyn Vincente, Summer
                             Deborah Booher, Steven Roger Bryant, Dakota Wayne Barker, Carrie Taylor, Brandin Travis Hyde,
                             Jeffery Bruce Bartley, Franklin Dee Rose, Stacey Lee Doane, Matthew Charles Blevins, Robert

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                               Edward Bowman, Melissa Mendora Harless, Connie Diane Strouth, Donna Jenkins. Motions
                               referred to Judge Pamela Meade Sargent. (lml) (Entered: 01/12/2016)
         01/11/2016       38 ORDER granting 37 Motion for Disclosure as to Jeremy Wayne Bartley (1), Dawn Rossalyn
                             Vincente (2), Summer Deborah Booher (3), Steven Roger Bryant (4), Dakota Wayne Barker (5),
                             Carrie Taylor (6), Brandin Travis Hyde (7), Jeffery Bruce Bartley (8), Franklin Dee Rose (9),
                             Stacey Lee Doane (10), Matthew Charles Blevins (11), Robert Edward Bowman (12), Melissa
                             Mendora Harless (13), Connie Diane Strouth (14), Donna Jenkins (15). Signed by Magistrate
                             Judge Pamela Meade Sargent on 1/11/2016. (lml) (Entered: 01/12/2016)
         01/13/2016       42 First MOTION for Discovery by Summer Deborah Booher. Motions referred to Judge Pamela
                             Meade Sargent. (Steele, Jay)
         01/14/2016       47 NOTICE OF HEARING as to Summer Deborah Booher (CUSTODY) (FTR) Arraignment set for
                             1/27/2016 01:30 PM in Abingdon before Magistrate Judge Pamela Meade Sargent.(ejs)
         01/21/2016       78 MOTION Witness Statements by Summer Deborah Booher. Motions referred to Judge Pamela
                             Meade Sargent. (Steele, Jay)
         01/25/2016       79 Bill of Particulars as to Jeremy Wayne Bartley, Dawn Rossalyn Vincente, Summer Deborah
                             Booher, Steven Roger Bryant, Dakota Wayne Barker, Carrie Taylor, Brandin Travis Hyde, Jeffery
                             Bruce Bartley, Franklin Dee Rose, Stacey Lee Doane, Matthew Charles Blevins, Robert Edward
                             Bowman, Melissa Mendora Harless, Connie Diane Strouth, Donna Jenkins (Lee, Zachary)
         01/26/2016       91 ORDER granting in part and denying in part 41 Motion for Discovery as to Dawn Rossalyn
                             Vincente (2); granting in part and denying in part 42 Motion for Discovery as to Summer Deborah
                             Booher (3); granting in part and denying in part 78 Motion as to Summer Deborah Booher (3);
                             granting in part and denying in part 56 Motion for Discovery as to Matthew Charles Blevins (11);
                             granting in part and denying in part 53 Motion for Discovery as to Melissa Mendora Harless (13);
                             granting in part and denying in part 54 Motion for Discovery as to Melissa Mendora Harless (13);
                             granting in part and denying in part 55 Motion for Early Release of Jencks as to Melissa Mendora
                             Harless (13); granting in part and denying in part 76 Motion for Discovery as to Connie Diane
                             Strouth (14); granting in part and denying in part 77 Motion as to Connie Diane Strouth (14);
                             granting in part and denying in part 43 Motion for Discovery as to Donna Jenkins (15). Signed by
                             Magistrate Judge Pamela Meade Sargent on 01/26/2016. (Bordwine, Robin)
         01/27/2016       95 Minute Entry for proceedings held before Magistrate Judge Pamela Meade Sargent:Arraignment as
                             to Summer Deborah Booher (3) Count 1,2 held on 1/27/2016 (Court Reporter Ella Surber, FTR)
                             (ejs)
         01/27/2016       96 FTR Log Notes as to Summer Deborah Booher for Arraignment in the Abingdon Division held
                             before Judge Pamela Meade Sargent on 1/27/16. In accordance with 28 USC 753(b), I certify that I
                             monitored the digital recording of this proceeding and that it is a true and correct record, that it is
                             sufficiently intelligible when played on the FTR (For the Record) Player, and that it can be
                             transcribed without undue difficulty. FTR Operator: Ella Surber (ejs)
         01/27/2016       97 ORDER granting in part and denying in part 94 Motion for Discovery as to Franklin Dee Rose (9);
                             granting in part and denying in part 92 Motion for Discovery as to Robert Edward Bowman (12).
                             Signed by Magistrate Judge Pamela Meade Sargent on 01/27/2016. (Bordwine, Robin)
         01/28/2016      107 ORDER granting in part and denying in part 104 Motion for Discovery as to Jeffery Bruce Bartley
                             (8); granting in part and denying in part 105 Motion for Discovery as to Stacey Lee Doane (10);
                             granting in part and denying in part 106 Motion as to Stacey Lee Doane (10). Signed by Magistrate
                             Judge Pamela Meade Sargent on 01/28/2016. (Bordwine, Robin)
         02/01/2016      125 ORDER granting in part and denying in part 109 Motion for Discovery as to Jeremy Wayne
                             Bartley (1). Signed by Magistrate Judge Pamela Meade Sargent on 02/01/2016. (Bordwine, Robin)
         02/03/2016      129 ORDER granting in part and denying in part 126 Motion for Discovery as to Dakota Wayne Barker
                             (5). Signed by Magistrate Judge Pamela Meade Sargent on 02/03/2016. (Bordwine, Robin)


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         02/25/2016      158 ORDER granting in part and denying in part 153 Motion for Permission to Place Copy of
                             Discovery at Regional Jail and/or Permit Defendant Access to Discovery Already So Placed by
                             Jeffery Bruce Bartley (8); granting in part and denying in part 15 Motion for Discovery as to
                             Matthew Charles Blevins (11). Signed by Magistrate Judge Pamela Meade Sargent on 2/25/2016.
                             (Bordwine, Robin)
         03/01/2016      162 NOTICE OF HEARING as to Dawn Rossalyn Vincente (CUSTODY), Summer Deborah Booher
                             (CUSTODY), Dakota Wayne Barker (CUSTODY), Jeffery Bruce Bartley (CUSTODY), Melissa
                             Mendora Harless (CUSTODY), Connie Diane Strouth (CUSTODY), Donna Jenkins (BOND)
                             (CR) Jury Trial set for 4/18/2016 thru 4/22/2016 09:00 AM in Abingdon before Judge James P.
                             Jones. Counsel must contact the Clerk's Office no later than five (5) business days before the
                             scheduled trial date for your technology needs. Pretrial Conference set for 4/1/2016 10:30 AM
                             in Abingdon before Magistrate Judge Pamela Meade Sargent.(ejs)
         03/01/2016      166 JONES PRETRIAL ORDER as to Jeremy Wayne Bartley, Dawn Rossalyn Vincente, Summer
                             Deborah Booher, Steven Roger Bryant, Dakota Wayne Barker, Carrie Taylor, Brandin Travis Hyde,
                             Jeffery Bruce Bartley, Franklin Dee Rose, Stacey Lee Doane, Matthew Charles Blevins, Robert
                             Edward Bowman, Melissa Mendora Harless, Connie Diane Strouth, Donna Jenkins. Signed by
                             Judge James P. Jones on 3/1/16. (ejs)
         03/03/2016      169 Order Severing Defendant from Codefendant(s) as to Dawn Rossalyn Vincente, Summer Deborah
                             Booher, Dakota Wayne Barker, Carrie Taylor, Brandin Travis Hyde, Jeffery Bruce Bartley, Melissa
                             Mendora Harless, Connie Diane Strouth, Donna Jenkins. Signed by Magistrate Judge Pamela
                             Meade Sargent on 3/3/16. (ejs)
         03/08/2016      174 ORDER granting in part and denying in part 172 Motion for Discovery as to Brandin Travis Hyde
                             (7). Signed by Magistrate Judge Pamela Meade Sargent on 03/08/2016. (Bordwine, Robin)
         03/30/2016      186 NOTICE of Intent to Plead Guilty by Summer Deborah Booher (Steele, Jay)
         03/30/2016      187 PLEA AGREEMENT as to Summer Deborah Booher. (Lee, Zachary)
         03/31/2016      189 NOTICE OF CANCELLATION of PTC set for 4/1/2016 at 10:30 a.m. in Abingdon before
                             Magistrate Judge Pamela Meade Sargent and Jury Trial set for 4/18/16 thru 4/22/16 at 9:00 a.m. in
                             Abingdon before Judge James P. Jones as to Summer Deborah Booher, Dakota Wayne Barker
                             (BOTH IN CUSTODY). (flc)
         03/31/2016      190 NOTICE OF HEARING as to Summer Deborah Booher (CUSTODY) (CR) : Change of Plea
                             Hearing set for 4/6/2016 at 11:00 a.m. in Abingdon before Judge James P. Jones.(flc)
         04/06/2016      221 Minute Entry for proceedings held before Judge James P. Jones:Guilty Plea Hearing as to Summer
                             Deborah Booher, Stacey Lee Doane, Melissa Mendora Harless held on 4/6/2016; Plea entered by
                             Summer Deborah Booher (3) Guilty Count 1 and Stacey Lee Doane (10) Guilty Count 1 and
                             Melissa Mendora Harless (13) Guilty Count 1. Defendants were remanded to the custody of the
                             USMS. (Court Reporter Bridget Dickert, OCR) (flc)
         04/06/2016      222 NOTICE OF HEARING as to Summer Deborah Booher (CUSTODY) (CR) : Sentencing set for
                             8/1/2016 at 10:30 a.m. in Abingdon before Judge James P. Jones.(flc)
         04/20/2016            Notice of Appearance - Probation Officer: Eric M. Taylor as to Summer Deborah Booher, Dakota
                               Wayne Barker, Jeffery Bruce Bartley, Stacey Lee Doane (ms)
         06/28/2016      284 Notice of Cancellation of Sentencing hearing set for 8/1/16 at 10:30 a.m. in Abingdon before Judge
                             James P. Jones as to Summer Deborah Booher (CUSTODY) (flc)
         06/29/2016      299 NOTICE OF HEARING as to Summer Deborah Booher (CUSTODY) (CR) : Sentencing reset for
                             8/22/2016 at 10:00 a.m. in Abingdon before Judge James P. Jones.(flc)
         08/22/2016      350 Minute Entry for proceedings held before Judge James P. Jones:Sentencing held on 8/22/2016 for
                             Summer Deborah Booher (3), Count 1, CBOP: Sixty (60) months; Supervised Release: Three (3)
                             years; Special Assessment: $100.00; Count 2, Dismissed pursuant to plea agreement. (Court
                             Reporter Bridget Dickert) (lml)

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         08/22/2016      351 ORAL Motion to Dismiss forfeiture allegation by USA as to Summer Deborah Booher. (lml)
         08/22/2016      352 ORAL ORDER granting 351 Oral Motion to Dismiss Forfeiture Allegation as to Summer Deborah
                             Booher (3). Entered by Judge James P. Jones on 8/22/2016. (lml)
         08/22/2016      356 JUDGMENT as to Summer Deborah Booher (3), Count 1, CBOP: Sixty (60) months; Supervised
                             Release: Three (3) years; Special Assessment: $100.00; Count 2, Dismissed pursuant to plea
                             agreement. Signed by Judge James P. Jones on 8/22/2016. (lml)
         08/24/2016      371 PRESENTENCE INVESTIGATION REPORT (Sealed) as to Summer Deborah Booher (ms)
         06/01/2018      534 MOTION For Recommendation Regarding Length of RRC Placement by Summer Deborah
                             Booher. (ejs)
         06/06/2018      535 OPINION AND ORDER denying 534 Motion for a judicial recommendation to be placed in a
                             halfway house for six months preceding release from prison as to Summer Deborah Booher (3).
                             Signed by Judge James P. Jones on 6/5/2018. (lml)
         08/23/2018      538 Letter requesting transcripts of Grand Jury by Summer Deborah Booher (sas)
         08/23/2018      539 Response re 538 Letter requesting transcripts of Grand Jury. (sas)




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